UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NORTH CAROLINA

GREENVILLE DIVISION
IN RE: )
) Case No. 19-00730-5-JNC
CAH ACQUISITION COMPANY #1, LLC d/b/a)
WASHINGTON COUNTY HOSPITAL, ) Chapter 11
)
Debtor. )
)
)

 

APPLICATION FOR APPROVAL TO PAY CO-COUNSEL FOR THE TRUSTEE’S FEES

NOW COME Jason L. Hendren, Rebecca F. Redwine and the firm Hendren, Redwine & Malone, PLLC
(“Hendren Redwine”), and submit this Application for Approval to Pay Co-Counsel for the Trustee’s Fees, and show
unto the Court as follows:

1. Jason L. Hendren, Rebecca F. Redwine and the firm Hendren, Redwine & Malone, PLLC were
employed as co-counsel for the Trustee, Nunc Pro Tunc, on April 17, 2019.

2. Hendren Redwine has rendered services to the Trustee including providing assistance and advising the
Trustee with regard to administration of the case.

3. Hendren Redwine seeks authority to receive payment for fees in the amount of $9,977.75 and out-of-
pocket expenses in the amount of $58.50 for services rendered from March 4, 2019 through March 29, 2019. A copy of
the itemized invoice is attached hereto and marked as Exhibit “A”.

4. A summary of the background and qualifications of Hendren Redwine is attached hereto and marked as
Exhibit “B”.

5. The amount to be paid to Hendren Redwine is fair and reasonable.

6. Payment to Hendren Redwine is in the best interest of the Estate.

WHEREFORE, Hendren Redwine requests payment for fees in the amount of $9,977.75 and out-of-pocket
expenses in the amount of $58.50 for a total sum of $10,036.25 for services rendered in this bankruptcy Estate from
March 4, 2019 through March 29, 2019.

DATED: April 29, 2019 s/Jason L, Hendren
Jason L. Hendren
NC State Bar No. 26869
Rebecca F, Redwine
NC State Bar No. 37012
HENDREN, REDWINE & MALONE, PLLC
4600 Marriott Drive, Suite 150
Raleigh, NC 27612
Telephone: (919) 573-1422
Facsimile: (919) 420-0475
Email: jhendren@hendrenmalone.com
CO-COUNSEL FOR CHAPTER 11 TRUSTEE
CERTIFICATE OF SERVICE
I, Jason L. Hendren, 4600 Marriott Drive, Suite 150, Raleigh, North Carolina 27612 certify;
That I am, and at all times hereinafter mentioned was, more than eighteen (18) years of age;

That on the 29" day of April, 2019, I served copies of the foregoing Application for Approval to Pay Co-
Counsel for the Trustee’s Fees on the parties listed below, by depositing a copy of the same in the United States mail
bearing sufficient postage or electronically as indicated.

I certify under penalty of perjury that the foregoing is true and correct.

DATED: April 29, 2019
s/Jason L. Hendren
Jason L. Hendren
NC State Bar No. 26869
Rebecca F, Redwine
NC State Bar No. 37012
HENDREN, REDWINE & MALONE, PLLC
4600 Marriott Drive, Suite 150
Raleigh, NC 27612
Telephone: (919) 573-1422
Facsimile: (919) 420-0475
Email: jhendren@hendrenmalone.com
CO-COUNSEL FOR THE CHAPTER 11 TRUSTEE

TO:

Marjorie K. Lynch (via CM/ECF)
Office of the Bankruptcy Administrator

Thomas W. Waldrep (via CM/ECF)
Chapter 11 Trustee

Rayford K. Adams, [II (via CM/ECF}
Counsel for the Debtor
Hendren, Redwine & Malone PLLC

 

4600 Marriott Drive
Suite 150
Raleigh, NC 27612
Ph:919-573-1426 Fax:919-420-0475
CAH Acquisition Company #1, LLC dba \ April 24, 2019
Waldrep LLP File #: 6415
101 S. Stratford Road, Suite 210 Invoice 4: 17851
Winston- Salem, NC 27104
c/o Thomas Waldrep, Trustee
RE:
DATE . DESCRIPTION HOURS AMOUNT
Mar-04-19 Telephone call with Tom Waldrep re: hospital 0.50 197.50 JLH
cases and attorney for Trustee
Mar-05-19 Telephone call with Tom Waldrep re: hospital 1.00 395.00 JLH
chapter 11 representation
Mar-05-19 Conference call with Waldrep re Washington 1.00 310.00 RFR
County
Mar-05-19 Review docket and save pleadings to file; open 0.50 65.00 JG
matter in PC Law and perform file and billing
updates
Mar-06-19 Preparation for telephone call with group; 0.75 296.25 JLH
efforts to secure TN counsel
Mar-06-19 Telephone call with Trustee, consultant and 2.20 869.00 JL
medical staff re: reopening hospital and
operating budget
Mar-06-19 Global conference call with Waldrep Law, 2.20 682.00 RFR
Management Company, et al re budget and
staffing issues; Research Oklahoma counsel;
Circulate email to team for review
Mar-06-19 Research bankruptcy court information for 0.20 22.00 AHS
towns where hospitals are located, email to
RFR re same

Mar-06-19 Review audio from trustee hearing 0.80 104.00 JG
Invoice #:

Mar-07-19
Mar-07-19
Mar-11-19

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Brief call with JLH re: case update and
instructions to find previous BK filings

Review 2011 case and pull relevant pleadings
to save to file; email to JLH/RFR re same

Correspondence with Waldrep LLP re status of
filings

Review email from Jennifer re EDNC filings

Review notice of status conference and edit
calendar re same

Review and revise application to employ
counsel and affidavit

Preparation and telephone call with Trustee re:
hospital cases and administration of cases;
division of labor

Emails and telephone calls re filings

Telephone call re status conference and app to
employ

Conference call with Waldrep LLP re status of
case, delegation of tasks

Review press release statement; Email edit re
same; Review emails from FM re spreadsheets
and case information; Review summary of
status conference

Review correspondence re CAH BKs status
Draft App to Employ HRM as counsel for T,

affidavit and order; email to JUH/RFR for
review and edit

Email to T re: App to Employ HRM
Review emails from T re contact information,

conflict list and summary of cases; save
documents to file

Listen to status conference audio; email
summary to JUH/RFR

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Email to parties re: status of motions in all
cases

Correspondence with Waldrep re filing status;
Follow up re website inquiry

Meet with JG re action items for UCC search
and other hospitals; Emails to/from Waldrep
team re filing updates, public notice issue,
contact with Clerk's office; Emails with UCC
costs and other issues

Instructions from JG re App to Employ HRM

Meet with RFR re division of labor for CAH
cases and action items

Research companies; call with CT Corp re:
UCC searches and costs; email to JUH/RFR re
same

Call with clerk re update on cases and
upcoming issues

Email to FM re De Queen

Review SOS informaiton; email to CT Corp re
UCC search request

Reserch Healthcare attys in OK and MO

Review quote from CT Corp; email to JLH re
DBA

Research hospital websites and update chart
with summary information

Conference call with Waldrep and potential
ombudsman (0.7); Follow up emails re status
of cases (0.2)

Email to CT Corp re UCC search

Notarized JLH affidavit and email to Waldrep

Review dockets for #1 & #3; save docs to file;
calendar deadlines; email pleadings to
JLH/RFR

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Emails with FM re status of cases

Conference call with T re status of cases; call
with ombudsman

Multiple emails from Tom re various first day
motion issues; Review attachments re same

Review docket for consolidation motion

Preparation for and conference call with
Waldrep Law re action items

Discussion with JG re case status
Hard file organization

Review hospital list and case assignments;
emails with CT corp

Review UCCs and edit summary chart; email
same to Waldrep/JLH/RFR.

Telephone call with Trustee; follow up with
call to Trip Adams

Review interim agreement; Emails re same

Conference calls and emails with Trustee and
team re case assignments, motion drafting, ucc
search; Emails re same; Emails re payroll
motions and status conference in lead matter

Email re prepetition wage motion and Slack
Motion; Follow up re expedited notice and
hearing on same

Meet with JG re action items for first day
motions, shortened notice and contact with
clerk re same

Correspondence with Court re hearing date and
time; Review comments to application to
employ

Review and edit Motion for Status Conference

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Review draft interim agreement and
attachments; Correspondence with FM re same

Email to Court re: emergency motions and
hearing date

Email to Lyday and Trip re UCCs

Draft Motion for status conference; email to
JLH/RFR for review; email to FM re motion to
shorten notice

Draft Motion for Shorten Response Time and
Setting Hearing; draft order re same

Email to Frank/Noel re: 4002 documents

Review and revise application to employ HRM
nunc pro tunc for all CAH Cases

Information call with Ihealthcare re: access
data

Conference call with Trustee and team re
updates on all hospitals, first day motions and
various case issues at each location

Service of Motion for Joint Administration

Review and edit Motion to Shoten Time, -
Motion for Reject Contact; email to Waldrep
for final approval

Review and finalize Motion for Joint
Adminstration; edit and finalize Motions to
Shorten Notice

File Motion to Shorten Notice, Motion to Joint
Admin and Motion for Status Confernce;
email to Court re same; file Motion to Reject

Call with BK team re status of all cases

Edit App to Employ HRM, affidavit and order;
email to Waldrep for review ; email to Waldrep
re monthly reporting

Correspondence re iHealthcare issue and
management; Meet with JLH re strategy on
same; Correspondence with Trustee re

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ombudsman; Correspondence from Margie re
administration issues

Correspondence re management agreement;
Review hearing date re same

Telephone call with BA re overview of cases;
Email to Trustee re status of PCO and hearing
on same

Review payroll motion information and
responses from Noel Mijares; Review
resposnes to 4002 requests and status of
insurance

Meet re action items and case strategy with
JLH; Review eamils from Sharon Angel, court
staff, Notice of Hearing

Conference call with Debtor counsel, debtor
representative and Trustee re global case issues
(0.6); Follow up call with Trustee re legal
analysis (0.1)

Email to FM re: Motion to Limit Notice

Draft Motion to Shorten Fee App Period to 30
Days and draft order; email to JUH/RFR

Review and reply to email from Lyday re: First
Financial UCC

Review email re: cash collateral; call with
clerk re same

Draft Amended Motion for Joint
Adminstration; call with FM re various
motions

Review email from Noel re 4002 and lack of
information; email to JLH re same

Review and edit Motion to Approve CO;
finalize and email to FM for final approval

File Motion to Approve CO and email to Court
re same

Service of Motion to Approve CO

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Status conference with Trustee re: case status;
motion to dismiss; debtors’ authority for filing

Review operating agreement; Email re same

Correspondence with Court and all parties re
reschedule of hearing

Conference call with Waldrep
Emails re reschdule of hearing
Emails and calls re CAH continuance

Telephone call with Margie Lynch; Telephone
call with JLH re case law and hearings on
MTD

Brief meeting with JLH re preparation for
hearing

Preparation for CAH hearings; brief meeting
with JLH

Review First Capital limited reponse

Travel to Greenville and return (at 1/2 hourly
rate) for hearings

Preparation and participation in court hearings

Meet with Trustee; Correspondence with JLH
re same

Additional preparation for hearing
Review hospital summary

Call from Lyday re CO on cash collateral;
email re same

Meet wtih JLH re global case status and
overall issues; Email re application to employ

Telephone call with team re action items and
Motions and applications needed

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Invoice #:

17851 Page 8

Mar-29-19 Call from Lyday; edits to App to Employ
HRM; email to Lyday for review

Mar-29-19 Review docket and save orders/notices to file
Totals

DISBURSEMENTS

Mar-21-19 Postage Service of Motion for Joint
Administration 15 @ 0.50

Mar-29-19 Copy Charges 255 @ 0.20

Totals

Total Fee & Disbursements

Balance Now Due

0.30

0.10

38.90

39.00

13.00

$9,977.75

7.50

51.00

$58.50

JG

JG

$10,036.25

$10,036.25
BIOGRAPHICAL INFORMATION
HENDREN, REDWINE & MALONE, PLLC

 

JASON L. HENDREN

Jason L. Hendren is a Board Certified Specialist in Business Bankruptcy. Mr. Hendren was
admitted to the North Carolina Bar in 1999. He attended Lee University where he earned a
Bachelor of Arts degree, magna cum laude, in History and received the departmental award. He
received his J.D., magna cum laude, from the University of Tennessee School of Law in 1999.
While in law school, Mr. Hendren served on the Tennessee Law Review as an Editor of Student
Materials from 1997 through 1999 and was inducted into the Order of the Coif. Mr. Hendren is a
partner at Hendren, Redwine & Malone, PLLC, focusing in the areas of Bankruptcy and Civil
Litigation. Mr. Hendren is regularly selected by Business North Carolina as Legal Elite in
Bankruptcy and has also appeared frequently in Super Lawyers Magazine. Mr. Hendren served
as Research Assistant to Justices Mark D. Martin and George L. Wainwright, Jr. of the Supreme
Court of North Carolina prior to entering private practice. Mr. Hendren is also board certified in
business bankruptcy and serves on the board of directors for the Eastern Bankruptcy Institute,

Inc. Mr. Hendren speaks frequently on the topic of Chapter 11 bankruptcy. ,

REBECCA F. REDWINE

Rebecca F. Redwine is a Board Certified Specialist in Business Bankruptcy. Ms. Redwine
earned a Phi Beta Kappa key from North Carolina State University, where she graduated summa
cum laude with a Bachelor of Arts in English in 2004. She then graduated from the University
Of North Carolina School Of Law in 2007, where she was a client coordinator with the pro bono
Community Legal Project and served on the executive board of the Domestic Violence
Advocacy Project. She also served as a research assistant to Administrative Law Judge James J.
Brown. Ms. Redwine is a partner at Hendren, Redwine & Malone, PLLC, focusing in the areas
of Bankruptcy and Civil Litigation. Ms. Redwine is admitted to practice in all state and federal
courts in North Carolina. She is a member of the North Carolina Bar Association; the North
Carolina Association of Women Attorneys; the American Bar Association; and the North
Carolina State Bar. Ms. Redwine is a council member of the North Carolina Bar Association
Bankruptcy Section Council and serves as co-chair of the Pro Bono Committee for Council. She
works as a volunteer lawyer for Lawyer on the Line. Ms. Redwine has spoken at several
bankruptcy seminars, regarding Chapter 11 and Chapter 7 bankruptcies. Ms. Redwine was
included in Super Lawyers magazine as a North Carolina Rising Star for years 2010, 2012, 2013
and 2017 through 2019. Additionally, Ms. Redwine was selected as Legal Elite in Bankruptcy
from 2013 through 2019 and was selected for the 24" and 25" Edition of Best Lawyers in
America in Bankruptcy and Creditor and Debtor Rights.
JENNY GORMAN

Jenny Gorman is a 2010 graduate of UNC-Wilmington with a Bachelor of Science in Criminal
Justice. Ms. Gorman is a 2012 graduate of the Meredith College Paralegal Program and a North
Carolina Certified Paralegal. Ms. Gorman was employed with Butler & Butler, LLP from 2006
to 2010, focusing in the area of Chapter 7 bankruptcy. Prior to joining Hendren, Redwine &
Malone in 2012, Ms. Gorman was a paralegal with the United States Bankruptcy Administrator’ s
Office, focusing on Chapter 11 bankruptcies in the Eastern District of North Carolina. Ms.
Gorman spoke at the 2014 Eastern District Seminar on Chapter 11 issues for paralegals. Ms.
Gorman has extensive experience in all aspects of Chapter 11 and Chapter 7 bankruptcy
proceedings, including consumer and business bankruptcies. Specifically, Ms. Gorman is
proficient in preparing bankruptcy schedules and all required pleadings of the Court. On a daily
basis, she meets and works closely with the firm’s Chapter 11 clients to enable timely filing of
monthly reports and to ensure compliance with all document production requirements. In
addition to her bankruptcy experience, Ms. Gorman is solely responsible for the firm’s daily
calendar management system and case management which requires extensive communications
with attorneys, paralegals, clients, creditors and court staff.

ALSTON SHAVE

Alston Shave is a 2004 graduate of UNC Chapel Hill with a Bachelor of Arts in English. Ms.
Shave is a 2005 graduate of the Duke University Paralegal Program and a North Carolina
Certified Paralegal. Prior to joining Hendren, Redwine & Malone in 2014, Ms. Shave was
employed with Brooks, Stevens & Pope from 2006-2014 with a focus in the area of workers’
compensation defense. While there, her responsibilities included the drafting of settlement
agreements, confidentiality agreements, discovery, motions and proposed orders. In addition,
she was responsible for the scheduling of mediations and depositions, as well as maintaining the
daily calendars for her attorneys. As a paralegal at Hendren, Redwine & Malone, Ms. Shave
focuses on Chapter 7 and 11 bankruptcies and state court matters.
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NORTH CAROLINA

GREENVILLE DIVISION
IN RE: )
) Case No. 19-00730-5-JNC
CAH ACQUISITION COMPANY #1, LLC d/b/a)
WASHINGTON COUNTY HOSPITAL, ) Chapter 11
)
Debtor. )
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NOTICE OF APPLICATION FOR APPROVAL TO PAY CO-COUNSEL FOR THE TRUSTEE’S FEES

NOTICE IS HEREBY GIVEN that Hendren, Redwine & Malone, PLLC (“Hendren Redwine’), has filed an
Application for Approval to Pay Co-Counsel for the Trustee’s Fees; and,

FURTHER NOTICE IS HEREBY GIVEN that Hendren Redwine has applied for compensation in the amount
of NINE THOUSAND NINE HUNDRED SEVENTY-SEVEN DOLLARS AND 75/100 ($9,977.75) and FIFTY-EIGHT
DOLLARS AND 50/100 ($58.50) for reimbursement of expenses pursuant to 11 U.S.C. § 503(b), for a total of TEN
THOUSAND THIRTY-SIX DOLLARS AND 25/100 ($10,036.25) for the period of March 4, 2019 through March 29,
2019; and,

FURTHER NOTICE IS HEREBY GIVEN that this Application may be allowed provided no responses and
request for a hearing is made by a party in interest in writing to the Clerk of this Court within TWENTY-ONE (21)
DAYS from the date of this notice; and,

FURTHER NOTICE IS HEREBY GIVEN, that if a response and a request for a hearing is filed by a party in
interest in writing within the time indicated, a hearing will be conducted on this Report and Application and Response
thereto at a date, time and place to be later set by the Court and all interested parties will be notified accordingly. Ifno
request for a hearing is timely filed, the Court may rule on the Report and Application and Response thereto ex parte
without further notice.

DATE: April 29, 2019 s/Jason L. Hendren
Jason L. Hendren
NC State Bar No. 26869
Rebecca F. Redwine
NC State Bar No. 37012
HENDREN, REDWINE & MALONE, PLLC
4600 Marriott Drive, Suite 150
Raleigh, NC 27612
Telephone: (919) 573-1422
Facsimile: (919) 420-0475
Email: jhendren@hendrenmalone.com
CO-COUNSEL FOR THE CHAPTER 11 TRUSTEE
CERTIFICATE OF SERVICE
I, Jason L. Hendren, 4600 Marriott Drive, Suite 150, Raleigh, North Carolina 27612 certify;
That I am, and at all times hereinafter mentioned was, more than eighteen (18) years of age;

That on the 29" day of April, 2019, I served copies of the foregoing Notice of Application for Approval to
Pay Co-Counsel for the Trustee’s Fees on the parties listed on Exhibit "A", attached hereto, by depositing a copy of
the same in the United States mail bearing sufficient postage or electronically as indicated.

I certify under penalty of perjury that the foregoing is true and correct.

DATED: April 29, 2019

s/Jason L. Hendren

Jason L. Hendren

NC State Bar No. 26869

Rebecca F. Redwine

NC State Bar No. 37012

HENDREN, REDWINE & MALONE, PLLC
4600 Marriott Drive, Suite 150

Raleigh, NC 27612

Telephone: (919) 573-1422

Facsimile: (919) 420-0475

Email: jhendren@hendrenmalone.com
CO-COUNSEL FOR THE CHAPTER I1 TRUSTEE

TO:

Marjorie K. Lynch (via CM/ECF)
Office of the Bankruptcy Administrator

Thomas W. Waldrep (via CM/ECF)
Chapter 11 Trustee

Rayford K. Adams, III (via CM/ECF)
Counsel for the Debtor
 

Adaptive Nedical Partners
5229 Premier Dr,, STZ 200
Irving, TX 75063-2611

(p) BANKRUPTCY AUNINISTRATOR EDNC
434 FAYETTEVILLE STREET

SUITE 640

RALEIGH NC 27601-1888

Backman Coulter, Ine
250 § Kraemer Blyd- D1. NW. 03
Brea, CA 92821-6232

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958 U.S. Highway 64 Kast
Plymouth, NC 27962-9216

W. Tyler Chastain

Bernstein, Stair ¢ McAdams, LLP
116 Agnes Road

Knoxville, tN 37919-6306

Employment Security Conmission
PO Box 26504
Raleigh, NC 27611-6504

Terri L. Gardnar

Nelson Mullins Riley & Scarborough, LLP
4140 Parkiake Avenue, Suite 200
Raleigh, NC 27612-3731

Patricia E, Ramijton
Stevens & Brand, LLP
917 $.W. Topeka Boulevard
Topeka, KS 66612-1609

Hendren, Redwine & Malone, PLC
4600 Marriott Drive, Suite 150
Raleigh, NC 27612~3367

Rayford K, Adams III

Spilinan Thomas & Battle, PLLC
110 Oakwood Dr., Suite 500
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